UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                       Plaintiff,

       -against-                                              1:23-cr-00603 (ALC)

                                                              OPINION AND ORDER
ROBERT RUMPH,

                  Defendant.
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ANDREW L. CARTER JR., United States District Judge:

       Defendant Robert Rumph (“Defendant”) moves to suppress all evidence obtained in

violation of the Fourth Amendment to the United States Constitution as a direct or derivative

result of the warrantless seizure of Defendant Rumph and search of his car on October 1, 2023,

and the fruits of those unlawful actions, as well as to controvert the phone and cellsite search

warrants. For the reasons set forth below, the Defendants’ motion to suppress the challenged

evidence and request to controvert the search warrants is hereby DENIED.

                                        BACKGROUND

       I.      July 7, 2023 Armed Robbery

       The Court assumes the parties’ familiarity with the facts, which are set forth more fully in

the Criminal Complaint. On July 7, 2023, at approximately 10:25 a.m., a man (“Robber-1”)

wearing a mask, hat, gloves, sunglasses, and hooded sweatshirt entered a smoke shop in the

vicinity of 217 East 167th Street, Bronx, New York. Criminal Complaint ¶ 4(a). Robber-1 was

carrying a black tote bag and wearing a black hooded sweatshirt, black pants, blue gloves, white

mask, black sunglasses, and white baseball cap with a black brim with the words “New York” on



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it. Id. Robber-1’s hat had a distinctive brown stain on the side. Id. ¶ 5(b). After entering the

smoke shop, Robber-1 approached the counter, drew a black handgun from the tote bag,

displayed it to two store clerks, and forced the clerks into the smoke shop’s back room while

brandishing the gun. Id. ¶ 4(b). Once inside the back room, Robber-1 aimed his gun at the store

clerks and demanded money. Id. ¶ 4(c)-(e). One of the clerks retrieved approximately $400 in

cash from the register in the main room and put the cash inside of Robber-1’s black tote bag at

Robber-1’s direction. Id. ¶ 4(e). Robber-1 then tied the two clerks’ hands together behind their

backs using duct tape, stole one of the clerk’s cellphones, and left through the front door of the

smoke shop. Id. ¶ 4(f)-(h)).

        While Robber-1 was committing the robbery, a second robber (“Robber-2”) was waiting

nearby in a red Ford Escape with white side doors, only on the driver’s side (the “Getaway

Car”). Robber-2 arrived in the vicinity of the smoke shop at approximately 9:40 a.m. Id. ¶ 4(j)-

(k)). He parked the Getaway Car one block north of the smoke shop near Sherman Avenue and

East 168th Street. Id. ¶ 4(j). The second robber intermittently sat in, cleaned, walked around, and

stood near the Getaway Car, from approximately 9:40 a.m. to 10:30 a.m. Id. ¶ 4(k). At

approximately 10:30 a.m., Robber-2 got into the Getaway Car and drove to the intersection of

Sherman Avenue and East 167th Street. Id. ¶ 4(l). Robber-1 then entered the front passenger side

of the Getaway Car and Robber-2 drove the Getaway Car southbound on Sherman Avenue. Id. ¶

4(n).

        II.    October 1, 2023 Search of the Getaway Car

        On October 1, 2023, Detective Kenneth Ayala with the Joint Robbery Task Force of the

New York City Police Department (“NYPD”) and the Bureau of Alcohol, Tobacco, and Firearms

was driving southbound on the FDR Drive in the vicinity of the 125th Street exit at



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approximately 1:30 p.m. when he observed a red Ford Escape with white doors that matched the

description of the Getaway Car. Id. ¶ 5(a). Detective Ayala then alerted NYPD patrol officers in

the vicinity that he believed he saw a vehicle that he believed could be the Getaway Car. Id.

NYPD patrol officers then followed the vehicle and conducted a traffic stop after the driver ran a

red light. Id. The driver identified himself as Robert Rumph. Id. Detective Ayala then

approached the vehicle and explained to Rumph that there were a “couple reasons” that the

officers pulled Rumph over, including for running a red light on Second Avenue and 116th Street.

Levine Aff. ¶ 9. NYPD officers then conducted a search of Vehicle-1 incident to the Defendant’s

arrest. Criminal Complaint. ¶ 5(b). Inside the vehicle, the officers found a baseball cap that

resembled the baseball cap and a pair of sunglasses that Robber-1 wore during the armed

robbery. Id.

       III.    Phone and Cellsite Warrants

       On October 11, 2023, the United States Attorney’s Office applied to Magistrate Judge

Valerie Figueredo for two search warrants: (1) to search a Black Samsung Galaxy Cellphone and

a Blue AT&T Calypso Cellphone, USAO_862-84, USAO_885-901, and (2) for cellphone

location information for one of the phones found during the search of the car. USAO_885-901.

Detective Ayala submitted sworn affidavits in support of these two search warrants, in which he

states, “I am the case agent with primary responsibility for this investigation and have been

personally involved in this investigation.” Id. Regarding his belief that Defendant Rumph was

involved in the July 7, 2023 armed robbery, Detective Ayala explained that “[b]ased on my

personal observations of RUMPH, my review of surveillance video of the July 7, 2023 Robbery,

and my review of NYPD officer body camera video of RUMPH’s arrest, I know that RUMPH’s

physical appearance resembles Robber-1. In particular, RUMPH has a limp which resembles the



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limp of Robber-1. Based on the foregoing, I believe that Vehicle-1 is the Getaway Car from the

July 7, 2023 Robbery, and that RUMPH was involved in the July 7, 2023 Robbery.” Id.

       Furthermore, regarding his belief regarding the October 1, 2023 stop, arrest, and search

of Defendant Rumph’s vehicle, Detective Ayala stated, “At approximately 1:30 p.m. on October

1, 2023, I was driving southbound on the FDR Drive in the vicinity of the 125th Street exit when

I observed a red Ford escape with white doors (“Vehicle-1”) matching the description of the

Getaway Car. I alerted NYPD patrol officers in the vicinity that I saw a vehicle I believed could

be the Getaway Car. NYPD officers began to follow Vehicle-1, and conducted a traffic stop of

Vehicle-1 after the driver ran a red light. The occupant of Vehicle-1 identified himself as

ROBERT RUMPH. NYPD officers determined that RUMPH had an open NYPD warrant for an

unrelated offense in the 32nd Precinct. He was placed under arrest. NYPD officers conducted a

search of Vehicle-1 incident to the arrest of RUMPH.” Id.

                                      PROCEDURAL HISTORY

       On October 19, 2023, Defendant Robert Rumph was arrested pursuant to an arrest

warrant. ECF No. 2. On November 16, 2023, the Government filed an indictment against the

Defendant alleging that he knowingly combined, conspired, confederated, and agreed together

and with each other to commit robbery in violation of Title 18 United States Code Section

1951(b)(1) and conspired with others to rob a smoke shop in the vicinity of 212 East 167th Street

in the Bronx, New York. ECF No. 6.

       On May 28, 2024, the Defendant filed a motion to suppress evidence obtained the stop

and search of Rumph’s vehicle on October 1, 2023 and the searches of two phones found in

Rumph’s vehicle that were executed pursuant to search warrants. ECF Nos. 20-22. On June 19,

2024, the Government filed its opposition to the motion to suppress. ECF No. 26. On July 3,



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2024, the Defendant filed its reply brief in further support of the motion to suppress. ECF No.

29. On July 23, 2024, the Court ordered an evidentiary hearing related to the Defendant’s motion

to suppress evidence obtained from the stop, seizure, and search of the Defendant and his car.

ECF No. 30. The Court determined that the Defendant had not met its burden to justify an

evidentiary hearing, pursuant to Franks, regarding the warrant authorizing the search and seizure

of the two cell phones removed from the Defendant’s car. Id.

       On August 7, 2024, this Court held a suppression hearing, where Detective Kenneth

Ayala of the NYPD Joint Robbery Task Force testified. ECF Nos. 33-35. On September 6, 2024,

the Defendant filed a post-hearing submission. ECF No. 40. On September 22, 2024, the

Government filed a letter response in opposition. ECF No. 43. On September 26, 2024, the

Defendant filed a post-hearing submission reply brief. ECF No. 44. The Courts considers this

motion fully briefed.

                                      LEGAL STANDARD

       The Fourth Amendment to the U.S. Constitution provides that “[t]he right of the people

to be secure in their persons, houses, papers, and effects, against unreasonable searches and

seizures shall not be violated, and no warrants shall issue, but upon probable cause, supported by

oath or affirmation, and particularly describing the place to be searched, and the persons or

things to be seized.” U.S. Const. amend. IV. An officer has probable cause to make an arrest

when the officer has “knowledge or reasonably trustworthy information of facts and

circumstances that are sufficient to warrant a person of reasonable caution in the belief that the

person to be arrested has committed or is committing a crime.” Weyant v. Okst, 101 F.3d 845,

852 (2d Cir.1996) (citations omitted). On a motion to suppress evidence for failure to satisfy the

Fourth Amendment, “[t]he defendant ‘bears the burden of proving ... that he had a legitimate



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expectation of privacy.’” United States v. Watson, 404 F.3d 163, 166 (2d Cir. 2005) (quoting

Rawlings v. Kentucky, 448 U.S. 98, 104 (1980)). That burden is carried by the submission of

sworn declarations. See, e.g., United States v. White, 2018 WL 4103490, at *8 (S.D.N.Y. 2018)

(“That burden ‘is met only by sworn evidence, in the form of an affidavit or testimony, from the

defendant or someone with personal knowledge.’ ”) (quoting United States v. Montoya-

Eschevarria, 892 F. Supp. 104, 106 (S.D.N.Y. 1995)). United States v. Ray, 541 F. Supp. 3d 355,

379 (S.D.N.Y. 2021).

       In determining whether probable cause existed, courts must examine the “totality of the

circumstances” and “consider those facts available to the officer at the time of the arrest and

immediately before it.” Panetta v. Crowley, 460 F.3d 388, 395 (2d Cir.2006) (internal quotation

marks and emphasis omitted). “[P]robable cause is a fluid concept—turning on the assessment of

probabilities in particular factual contexts—not readily, or even usefully, reduced to a neat set of

legal rules.” United States v. Falso, 544 F.3d 110, 117 (2d Cir. 2008) (quoting Illinois v. Gates,

462 U.S. 213, 232 (1983)). The determination of probable cause requires “a practical, common-

sense decision, whether given all the circumstances ... there is a fair probability that contraband

... will be found in a particular place.” United States v. Harwood, 998 F.2d 91, 96 (2d Cir.1993)

(internal quotation marks and citation omitted) or that “[a] person of reasonable caution would be

justified in believing that there was at least ‘a probability or substantial chance of criminal

activity.’” United States v. Medina, 459 Fed.Appx. 31, 32 (2d Cir.2012) (quoting Illinois v.

Gates, 462 U.S. 213, 244, n. 13 (1983)). The Supreme Court has cautioned that, “a person's mere

propinquity to others independently suspected of criminal activity does not, without more, give

rise to probable cause.” Ybarra v. Illinois, 444 U.S. 85, 91 (1979) (citing Sibron v. New York,

392 U.S. 40, 62–63 (1968)).



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                                          DISCUSSION

       I.      Stop of Defendant Rumph’s Car

       This Court finds that Detective Ayala’s stop of Defendant Rumph’s car was lawful.

“Temporary detention of individuals during the stop of an automobile by the police, even if only

for a brief period and for a limited purpose, constitutes a ‘seizure’ of ‘persons’ within the

meaning of [the Fourth Amendment].” Whren v. United States, 517 U.S. 806, 809–10 (1996).

Therefore, traffic stops must satisfy the Fourth Amendment’s reasonableness limitation, which

“requires that an officer making a traffic stop have probable cause or reasonable suspicion that

the person stopped has committed a traffic violation or is otherwise engaged in or about to be

engaged in criminal activity.” United States v. Stewart, 551 F.3d 187, 191 (2d Cir. 2009)

(alterations and emphasis omitted). Even a “minor” traffic violation meets this standard and

requires probable cause or reasonable suspicion for a stop. United States v. Scopo, 19 F.3d 777,

782 (2d Cir. 1994). While lawful at its inception, a traffic stop “can violate the Fourth

Amendment if its manner of execution unreasonably infringes interests protected by the

Constitution.” Illinois v. Caballes, 543 U.S. 405, 407 (2005).

       Here, NYPD officers were permitted under the Fourth Amendment to make a traffic stop

after Detective Ayala observed that the Defendant committed a traffic violation when he ran a

red light at 116th Street and Second Avenue. “[R]easonable suspicion of a traffic violation

provides a sufficient basis under the Fourth Amendment for law enforcement officers to make a

traffic stop.” United States v. Stewart, 551 F.3d 187, 193 (2d Cir.2009). After recognizing the

vehicle as the Getaway Car, Detective Ayala followed Rumph’s car as it exited onto 116th street

and drove westbound. Hear Tr. at 35. Video surveillance corroborates that Detective Ayala

informed Rumph that he had been pulled over because he ran the red light. Ex. A. Defendant also



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concedes that Detective Ayala told the Defendant that there were a “couple reasons” why he was

pulled over, one of which was due to the traffic violation. Levine Aff. ¶ 9.

       In addition to the traffic violation, Detective Ayala also had reasonable suspicion to

believe that Defendant’s vehicle was involved in the July 7, 2023 armed robbery. The Supreme

Court has held that the Fourth Amendment permits a warrantless investigative stop “when a law

enforcement officer has a particularized and objective basis for suspecting the particular person

stopped of criminal activity.” Navarette v. California, 572 U.S. 393, 396 (2014).“‘Terry requires

that a police officer have only reasonable suspicion that criminal activity may be afoot to justify

an investigatory stop. Reasonable suspicion requires considerably less of a showing than

probable cause.’” Goldberg v. Town of Glastonbury, 453 F. App’x 40, 41 (2d Cir. 2011) (quoting

United States v. McCargo, 464 F.3d 192, 197 (2d Cir. 2006)). “In reviewing the reasonableness

of a Terry stop, [the court] ask[s] whether there was a ‘particularized and objective basis’ for

suspicion of legal wrongdoing under the ‘totality of the circumstances.’” United States v.

Simmons, 560 F.3d 98, 103 (2d Cir. 2009) (quoting United States v. Arvizu, 534 U.S. 266, 273

(2002)). While a reasonable suspicion requires more than a hunch, Terry, 392 U.S. at 27, “[t]he

standard is ‘not high.’” United States v. Bailey, 743 F.3d 322, 332 (2d Cir. 2014) (quoting

Richards v. Wisconsin, 520 U.S. 385, 394 (1997)).

       Here, Detective Ayala testified that on October 1, 2023, he recognized the Rumph’s

vehicle when he was heading southbound on Franklin D. Roosevelt East River Drive (“FDR

Drive”) between 125th and 116th Street. Hear. Tr. 31. (“[T]his vehicle passes in front of me, . . .

and I see that it’s a red SUV, it has two white doors on it. And just as it passes in front, I could

see that it’s a red Ford Escape, two white doors, all red . . . this same vehicle matched the very

same vehicle that I was investigating since July 7 for the robbery incident.”). He also noticed that



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Rumph’s car had a white-colored temporary license plate, which was similar to the Getaway Car.

Id. at 31-32. He then placed a radio call to other NYPD officers to assist him to stop a vehicle

that was wanted in connection with a gunpoint robbery. Hear. Tr. at 37-38. He did not mention

the traffic violation on the radio call because his priority was to alert NYPD officers to stop the

vehicle. Hear. Tr. at 44. (“At that moment, the priority was giving the direction in which the

vehicle was going, giving the call, and waiting for assistance to stop the car. It wasn't a priority at

that moment to transmit why the defendant took a light over on Second Avenue and 116. The

priority was giving the direction in which it was going and alerting the other officers where to

stop the vehicle.”). Indeed, Detective Ayala had no doubt that the Rumph’s vehicle matched the

appearance of the Getaway Car used in the July 7, 2023 armed robbery. Id. at 35. This is

sufficient under the Fourth Amendment for NYPD officers to have stopped the Defendant’s

vehicle.

       II.     Probable Cause to Search Defendant Rumph’s Car

       This Court finds that the NYPD officers had probable cause to search Defendant

Rumph’s car on October 1, 2023. Under the “automobile exception” to the Fourth Amendment

warrant requirement, police may conduct a warrantless search of a readily mobile motor vehicle

if probable cause exists to believe the vehicle contains contraband or other evidence of a crime.

See Pennsylvania v. Labron, 518 U.S. 938, 940 (1996) (per curiam); Carroll v. United States,

267 U.S. 132, 151–62 (1925); see also California v. Acevedo, 500 U.S. 565, 569–70 (1991).

Furthermore, when the police possess probable cause to believe a vehicle contains contraband,

they may conduct a warrantless search of every part of the vehicle and its contents, including all

containers and packages in the vehicle.” United States v. Gagnon, 373 F.3d 230, 235 (2d Cir.

2004) (internal citation and quotation marks omitted).



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       Here, the evidence presented at the August 7 suppression hearing established that law

enforcement had probable cause to search Rumph’s vehicle on October 1, 2023. Probable cause

exists “where the facts and circumstances within ... [an officer's] knowledge and of which [the

officer] had reasonably trustworthy information [are] sufficient in themselves to warrant a man

of reasonable caution in the belief that evidence of a crime will be found in the place to be

searched.” United States v. Gaskin, 364 F.3d 438, 456 (2d Cir. 2004). Detective Ayala had a

reasonable belief that the red Ford escape with white doors and a temporary white license plate

matched the appearance of the Getaway Car from the July 7, 2023 armed robbery. At the

suppression hearing, Detective Ayala testified that he had no doubt that Rumph’s car was the

same car that he had seen in the video surveillance footage from the July 7, 2023 robbery. ECF

No. 35 at 35. The unique features of the car – two white driver–side doors on a red Ford Escape

– further underscore Detective Ayala’s belief that the model, make, and colors of Rumph’s car

matched the Getaway Car.

       Defendant argues that there was no probable cause to believe that the car contained

proceeds of the July 7, 2023 robbery when the car was pulled over on Second Avenue on

October 1, 2023 approximately three months later “during which time cars can easily change

hands; the car was being driven in a different borough than where the robbery took place; and

law enforcement had no identifying information about the driver on the date of the robbery.”

ECF No. 29 at 2; see also ECF No. 40 at 4. This argument is unpersuasive. The Second Circuit

has emphasized that “[w]hile there is no bright line rule for staleness, the facts in an affidavit

supporting a search warrant must be sufficiently close in time to the issuance of the warrant and

the subsequent search conducted so that probable cause can be said to exist as of the time of the

search and not simply as of some time in the past.” United States v. Wagner, 989 F.2d 69, 75 (2d



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Cir.1993) (citations omitted). The Court of Appeals has identified a number of factors relevant to

a staleness inquiry, including: “[t]he currency and specificity of the information forming the

basis” for probable cause, “the reliability of the sources of information, the nature of the alleged

illegal activity, the duration of that activity in the location in question, and the nature of the

evidence being sought.” United States v. McGrath, 622 F.2d 36, 41–42 (2d Cir.1980). Central to

the staleness question in this case is “the nature of the property sought” and its relationship to the

location in which it was sought. United States v. Paul, 692 F.Supp. 186, 193 (S.D.N.Y. 1988).

If evidence of the crime “can be expected to remain in one location over a period of time,”

probable cause can continue to exist. United States v. Salomon-Mendez, 992 F. Supp. 2d 340,

347 (S.D.N.Y. 2014) (internal citations omitted). With respect to a car used in a robbery,

“evidence of a vehicle’s ownership,” which can link the car to a suspect, “would be evidence that

could be used in the prosecution” of the robbery. Id. at 348.

        Here, evidence from the robbery was likely to remain in the Getaway Car for a

considerable period of time and could be used to identify the perpetrators of the July 7, 2023

robbery, including vehicle registration documents and articles worn by Robber-1 or Robber-2 on

the day of the robbery. Courts in this district have held that registration papers for a vehicle,

which are generally kept within the glove compartment or elsewhere within the vehicle, are

“unlikely to be removed from a car at any point when the car is still in use.” Id. at 348 & n.3.

During the vehicle stop of Rumph’s car, NYPD officers found temporary Georgia vehicle

registration, which is consistent with temporary license plates on the Getaway Car, and noted

that the car was also registered under Defendant Rumph’s name. ECF No. 43 at 8. NYPD

officers also found the hat and sunglasses that Robber-1 wore, which were captured during the

surveillance video from the July 7, 2023 robbery. Id. Therefore, the search of the Defendant’s car



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was valid under the “automobile exception” to the warrant requirement, which permits officers to

search a vehicle without a warrant when “there is probable cause to believe [the] vehicle contains

evidence of criminal activity.” Arizona v. Gant, 556 U.S. 332 (2009) (citations omitted).

       III.    Inventory Search of Defendant Rumph’s Car

       This Court finds that the inventory search conducted of Rumph’s car following his arrest

was valid. An inventory search is “an incidental administrative step following arrest and

preceding incarceration” that “constitutes a well-defined exception to the warrant requirement.”

Illinois v. Lafayette, 462 U.S. 640, 643–44 (1983); see also id. at 646 (“At the stationhouse, it is

entirely proper for police to remove and list or inventory property found on the person or in the

possession of an arrested person who is to be jailed.”). Where the police lawfully take personal

property into their custody, they are permitted to conduct an inventory search of the property

without a warrant or probable cause to believe it contains contraband. United States v. Lopez,

547 F.3d 364, 369 (2d Cir.2008). “In some cases, the government successfully invokes the

inevitable discovery exception on the basis of inventory search procedures. In such cases, the

court typically concludes that even if the invalid search had not been conducted, the evidence

would nonetheless have been discovered in the course of a valid inventory search conducted

pursuant to standardized, established procedures.” United States v. Mendez, 315 F.3d 132, 137–

38 (2d Cir.2002). Key to the Fourth Amendment analysis, impoundments and inventory searches

do not need to be justified by probable cause, but only on a showing of reasonableness. United

States v. Rivera, 700 F. Supp. 3d 60, 73 (S.D.N.Y. 2023).

       In evaluating whether an inventory search following impoundment satisfies the Fourth

Amendment, courts engage in two distinct inquiries: “first, whether the impoundment of a car is

reasonable; and second, if so, whether the subsequent search of the car after the impoundment is



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reasonable,” Lyle, 919 F.3d at 730 n.2 (citing United States v. Duguay, 93 F.3d 346, 351 (7th Cir.

1996) (“[T]he decision to impound (the ‘seizure’) is properly analyzed as distinct from the

decision to inventory (the ‘search’).”)) As to the first inquiry, the Second Circuit inquires

whether the “decision to impound is reasonable ... based on all the facts and circumstances of a

given case.” Id. at 731 (citation omitted). Officers “may exercise their discretion in deciding

whether to impound a vehicle, ‘so long as that discretion is exercised ... on the basis of

something other than suspicion of evidence of criminal activity.’” Id. at 728 (quoting Colorado

v. Bertine, 479 U.S. 367 (1987)). Thus, an officer cannot act “solely for the purpose of

investigation.” Id. at 731. As to the second inquiry, for an inventory search to be reasonable

under the Fourth Amendment, the officer conducting the search must “act in good faith pursuant

to ‘standardized criteria ... or established routine.’” United States v. Thompson, 29 F.3d 62, 65

(2d Cir. 1994) (quoting Florida v. Wells, 495 U.S. 1, 4 (1990)). The existence of such a

procedure may be proven by reference to “either written rules and regulations, or testimony

regarding standard practices.” Id. (citations omitted). “The policy or practice governing

inventory searches should be designed to produce an inventory.” Wells, 495 U.S. at 4.

       Here, after the valid traffic stop, Detective Ayala ran Rumph’s license to check

outstanding warrants. Thereafter, Detective Ayala learned that there was an active Arrest I-Card,

which indicated that there was probable cause to arrest Rumph for an unrelated offense in the

32nd Precinct. Hear. Tr. 42-43. NYPD protocol then required Detective Ayala to arrest Rumph,

take him to the 32nd Precinct to process his arrest, take his vehicle into police custody, and

conduct an inventory search of the vehicle. Id. at 43, 47-48. The NYPD protocol also explains

why the vehicle was not impounded solely for purposes of the investigation. Police would have

taken custody of the vehicle as “arrest/investigatory evidence” based on the open I-card. See



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NYPD Patrol Guide 218-19 (directing officers to seize and invoice vehicles as arrest evidence

when arrests are made). Detective Ayala similarly testified that he conducted the inventory

search consistent with NYPD protocol, documented the returned property with photographs, and

invoiced seized items. Hear. Tr. at 106-108. This is sufficient to conclude that the inventory

search was valid under the Fourth Amendment.

       Defendants, however, argue that the evidence obtained as a result of the illegal stop and

search of Rumph’s vehicle are “fruit of the poisonous tree”. This argument is unpersuasive.

Following Rumph’s valid stop for both a red-light violation and reasonable suspicion that his car

was the Getaway Car in the July 7, 2023 robbery, NYPD protocol would have resulted in the

inevitable discovery of the challenged evidence. Under the “inevitable discovery” doctrine,

evidence that is obtained during an unreasonable search and seizure will not be suppressed “if

the government can prove that the evidence would have been obtained inevitably” without the

constitutional violation. Nix v. Williams, 467 U.S. 431, 447 (1984). The inevitable discovery

doctrine is applied only where a court can find with “a high level of confidence that each of the

contingencies required for the discovery of the disputed evidence would in fact have occurred.”

United States v. Heath, 455 F.3d 52, 55, 59 (2d Cir.2006). Proof of inevitable discovery

“involves no speculative elements but focuses on demonstrated historical facts capable of ready

verification or impeachment and does not require a departure from the usual burden of proof at

suppression hearings.” Nix, 467 U.S. at 444 n. 5. The Government must “establish by a

preponderance of the evidence that the information ultimately or inevitably would have been

discovered by lawful means[.]” Id. at 444. Here, once Rumph was arrested on an open Arrest I-

card and taken into custody, NYPD officers would have inevitably found the vehicle registration,

Robber-1’s hat, sunglasses, and two cellphones during their inventory search at the 32nd precinct.



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See NYPD Patrol Guide, Procedures 218-19, 218-20, 218-21. Notably, NYPD inventory search

policy directs officers to “s]earch the interior of the vehicle thoroughly,” including the glove

compartment, console, trunk, and under the hood). Id. at 218-13. Therefore, the inventory search

was permitted under the Fourth Amendment.

        IV.      Search Warrants and Franks Hearing

        This Court declines to issue a Franks hearing regarding Defendant’s challenge to the

affidavits supporting the Phone and Cellsite Warrants. Ordinarily, a search or seizure pursuant to

a warrant is presumed valid. United States v. Awadallah, 349 F.3d 42, 64–65 (2d Cir. 2003). In

certain circumstances, however, a defendant may challenge the truthfulness of factual statements

made in the affidavit, and thereby undermine the validity of the warrant and the resulting search

or seizure. See Franks v. Delaware, 438 U.S. 154, 164–72 (1978); United States v. Canfield, 212

F.3d 713, 717 (2d Cir.2000). To be entitled to a Franks hearing, a defendant must make “a

substantial preliminary showing” of (1) falsity, “that a false statement ... was included by the

affiant in the warrant affidavit,” (2) knowledge, that the affiant made the allegedly false

statement “knowingly and intentionally, or with reckless disregard for the truth,” and (3)

materiality, that “the allegedly false statement is necessary to the finding of probable cause.”

Franks, 438 U.S. at 155–56, 98 S.Ct. 2674; see United States v. McKenzie, 13 F.4th 223, 236 (2d

Cir. 2021). A defendant's obligation to prove these elements is well established in this Circuit.

See McKenzie, 13 F.4th at 236; see also United States v. Sandalo, 70 F.4th 77, 85 (2d Cir. 2023).

   I.         False Statements in Phone and Cellsite Warrants

        As to the first factor in the Franks analysis, this Court finds that the Defendant has not

made a preliminary showing that the warrant affidavits contain false statements. The Defendant

argues that Detective Ayala’s statement that “Rumph’s physical appearance resembles Robber-

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1” is misleading because it erroneously suggests that Rumph was Robber-1. The Defendant also

argues that the warrants contain misinformation regarding the reason why Rumph was stopped

on October 1, 2023 when Detective Ayala swore that officers “conducted a traffic stop of

Vehicle-1 after the driver ran a red light.” Levine Aff. ¶ 15. Here, the warrant affidavits contain

no false statements because Detective Ayala qualifies his statement that the Defendant resembles

Robber-1and specifies that that Rumph also has a limp which resembles Robber-1’s limp.

Additionally, Detective Ayala credibly testified that Rumph committed a traffic violation on

October 1, 2023, which was one of the two reasons why Rumph was stopped.

   II.      Knowingly and Intentionally Making a False Statement

         As to the second factor, this Court finds that the Defendant has not made a substantial

preliminary showing that Detective Ayala deliberately and misleadingly represented that

Defendant Rumph was Robber-1 and omitted material information where he concluded that

Defendant Rumph was not Robber-1. To invoke the Franks doctrine, Rumph must show that

there were intentional and material misrepresentations or omissions in Detective Ayala’s warrant

affidavit. United States v. Klump, 536 F.3d 113, 119 (2d Cir. 2008). A misrepresentation or

omission is intentional when “the claimed inaccuracies or omissions are the result of the affiant's

deliberate falsehood or reckless disregard for the truth.” Canfield, 212 F.3d at 717–18 (quoting

United States v. Salameh, 152 F.3d 88, 113 (2d Cir.1998)). The Defendant argues that Detective

Ayala acted with deliberate disregard to material information that he knew at the time which was

that Defendant Rumph was not Robber-1. (“He doesn’t … like right now, just looking based off

his goatee, he doesn’t fit the guy that went in with the gun, but we’ll figure that out.”) ECF No.

22 at 8; see also Levine Aff. ¶ 12. Defendant also argues that the warrant affidavits include

misinformation that suggests that Rumph was pulled over due to a traffic stop. ECF No. 22 at 9.

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Here, the Defendant has failed to make a substantial preliminary showing that Detective Ayala

deliberately and intentionally made recklessly false statements in his warrant affidavits. After

processing the car at the 32nd precinct, Detective Ayala found additional evidence that supported

that Rumph could be Robber-1, including the hat and glasses that matched those used in the July

7, 2023 robbery. In addition, during processing Rumph’s arrest, Detective Ayala also noticed

that Rumph has a limp like Robber-1. While the Defendant argues that Detective Ayala should

have known that Rumph is much taller than Robber-1, there is no evidence that shows that

Detective Ayala was aware of the height difference at the time of the warrant affidavits.

Collectively, these facts support Detective Ayala’s view that the Defendant resembles Robber-1

and therefore are not misrepresentations made with a deliberate or reckless disregard for the

truth. Canfield, 212 F.3d at 717–18.

   III.      Material Statements to Finding of Probable Cause

          As to the third and final factor, this Court finds that the Defendant has failed to make a

substantial preliminary finding that the challenged statements were material to the court’s finding

of probable cause. United States v. Klump, 536 F.3d 113, 119 (2d Cir. 2008). It is material when

“the alleged falsehoods or omissions were necessary to the [issuing] judge's probable cause

finding.” Canfield, 212 F.3d at 718. Here, there was still enough evidence to support probable

cause for Judge Figueredo to issue the search warrants. To determine materiality, courts

“disregard the allegedly false statements and determine whether the remaining portions of the

affidavit would support probable cause to issue the warrant.” Id. (internal citation and quotation

marks omitted). If the amended affidavit supports probable cause, the inaccuracies were not

material and suppression is not warranted. Id. When removing the information contained in

Detective Ayala’s search warrant affidavits that suggests that Defendant Rumph resembles

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Robber-1, there was still probable cause to stop and search the vehicle based on the traffic

violation and resemblance of Rumph’s vehicle to the Getaway Car. Since “there remains

sufficient content in the warrant affidavit to support a finding of probable cause, no hearing is

required.” United States v. Sandalo, 70 F.4th 77, 85 (2d Cir. 2023) (quoting Franks, 438 U.S. at

171–72).

       Indeed, Defendant Rumph does not meet the “substantial preliminary showing” standard

regarding falsity, knowledge, and materiality by a preponderance of the evidence to invoke the

Franks doctrine. Id. (quoting Franks, 438 U.S. at 155–56). Therefore, this Court denies

Defendant Rumph’s request for a Franks hearing.

                                         CONCLUSION

        For the reasons set forth above, Defendant’s motion to suppress and request to controvert

the search warrants is DENIED. The Clerk of Court is hereby directed to terminate ECF No. 20.




SO ORDERED.


Dated: October 16, 2024
         New York, NY                                 _______________________________
                                                        ANDREW L. CARTER, JR.
                                                         United States District Judge




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